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                   IN THE UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                              )     Case No. 12-56193-SMS
                                                    )
JENNIFER LAVETTE BRYANT                             )     Chapter 7
                                                    )
            Debtor.                                 )

              TRUSTEE’S NOTICE OF DEPOSIT OF UNCLAIMED FUNDS

       COMES NOW Jason L. Pettie, Chapter 7 Trustee, and files this Notice that Trustee is

remitting to the Registry of the Clerk of the United States Bankruptcy Court, on behalf of

Jennifer Lavette Bryant (the “Debtor”), a payment in the amount of $26,627.44 for the Debtor’s

surplus funds. These funds are being remitted to the Registry because the Debtor has not

claimed these funds. Trustee has tried twice to mail said payment to the Debtor’s post office box

address, which most recently was sent via priority mail requesting signature confirmation.

However the Debtor never claimed the priority mail envelope, and the United States Postal

Service returned the payment to Trustee.

                                             Respectfully submitted


                                              /s/
                                             Jason L. Pettie, Trustee
                                             Georgia Bar # 574783
                                             P.O. Box 17936
                                             Atlanta, Georgia 30316
                                             (404) 638-5984




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                                 CERTIFICATE OF SERVICE

       I, the undersigned attorney, do hereby certify that I have, on this date, served a copy of

Trustee’s Notice Of Deposit Of Unclaimed Funds on those parties listed below by mailing a

copy thereof, via first class U.S. Mail in a properly addressed envelope with sufficient postage

affixed.


                                            /s/
                                            Jason L. Pettie, Trustee
                                            Georgia Bar No. 574783

Jennifer Lavette Bryant
P.O. Box 191431
Atlanta, GA 31119

Office of the U.S. Trustee
Rm 362, Russell Federal Bldg
75 Ted Turner Dr SW
Atlanta, Georgia 30303

 Clerk, U.S. Bankruptcy Court
 Rm 1340, Russell Federal Bldg
 75 Ted Turner Dr SW
 Atlanta, Georgia 30303




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